441 F.2d 259
    Julia CHAMLEE, Charles W. Chamlee and Patricia Diana Crumbley Smith, Plaintiffs-Appellants,v.J. B. COLEMAN and Tom Grider, Defendants-Appellees.
    No. 71-1164 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    April 28, 1971.
    
      J. R. Cullens, W. A. Ingram, John V. Burch, Cartersville, Ga., for appellants.
      Frank H. Jones, Dudley B. Magruder, Jr., Rogers, Magruder &amp; Hoyt, Rome, Ga., for appellees.
      Before BELL, AINSWORTH and GODBOLD, Circuit Judges.
      PER CURIAM:
    
    Affirmed: See Local Rule 21.1
    
      
        Notes:
      
      
        *
         Rule 18, 5 Cir.; See Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir. 1970, 431 F.2d 409, Part I
      
      
        1
         See N.L.R.B. v. Amalgamated Clothing Workers of America, 5 Cir. 1970, 430 F. 2d 966
      
    
    